         Case 1:20-cv-02295-EGS Document 167 Filed 10/15/21 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


NATIONAL ASSOCIATION FOR THE                  )
ADVANCEMENT OF COLORED                        )
PEOPLE,                                       )
               Plaintiff,                     )       Civil Action No. 20-cv-2295 (EGS)
                                              )
v.                                            )
                                              )
UNITED STATES POSTAL SERVICE,                 )
et al.,                                       )
                Defendants.                   )

             JOINT MOTION FOR EXTENSION OF DISCOVERY DEADLINE
       Plaintiff National Association for the Advancement of Colored People and defendants

United States Postal Service and Louis DeJoy hereby jointly move for a 7-week extension of the

discovery deadline, from October 27, 2021, to December 15, 2021. In support of their motion for

an extension of the discovery deadline, the parties state as follows:

       1.      The deadline for completion of discovery in this case is currently October 27, 2021.

       2.      Plaintiff has served written discovery requests for production of documents and

interrogatories to Defendants. Plaintiff also has served notices of deposition.

       3.      The parties have met and conferred over the Plaintiff’s written discovery requests

and deposition notices, and Defendants have responded to written discovery and produced

documents.

       4.      The parties have been discussing settlement. In light of those discussions, the

parties wish to postpone depositions and further discovery. They therefore jointly request that the

Court grant a 7-week extension of the discovery deadline, from October 27, 2021, to December

15, 2021.

       5.      A proposed order is attached to this motion.

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        Case 1:20-cv-02295-EGS Document 167 Filed 10/15/21 Page 2 of 2




Dated: October 15, 2021                     Respectfully submitted,

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